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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

         MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


UNITED STATES OF AMERICA               )
                                       )          CRIMINAL ACTION NO.
        v.                             )             3:15cr240-MHT
                                       )
STEPHEN HOWARD                         )

                                     ORDER

       Upon consideration of the government’s motion for

an order authorizing the disclosure of protected health

information         (doc.   no.   122),      it    is    ORDERED     that   the

motion is granted as set forth below.

       It is ORDERED that the government is permitted to

obtain       from   the     Bureau    of     Prisons     protected      health

information pertaining to defendant Stephen Howard and

the government is permitted to disclose such materials

to the court and the defense as necessary to respond to

the      defendant’s          pending        emergency         motion       for

compassionate         release        (doc.    no.       102)   and    related

filings and the court’s related orders.

       It is FURTHER ORDERED that the government shall not

disclose any protected health information to any third
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party       except      for      the      court     and    any    attorney

representing the defendant.

       It is FURTHER ORDERED that the government shall not

file with the court any medical records unless it seeks

to do so under seal and first redacts from such records

all     personal       identifying          information    that     is     not

necessary        to    assess    the    defendant’s       current    health

condition.

       It   is     FURTHER      ORDERED      that   the   government       and

Bureau of Prisons are expressly prohibited from using

or disclosing the protected health information obtained

pursuant      to      this   order     for    any   purpose   other      than

responding to the defendant’s motion.

       Additionally, the government is ORDERED to either

return the protected health information to the Bureau

of Prisons or destroy the protected health information

(including all copies made) immediately upon conclusion

of the litigation related to the defendant’s motion,

including any appeal of the decision of this court.




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See 45 C.F.R. §§ 163.502(b) and 164.512(e)(1)(v).

    DONE, this the 24th day of July, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
